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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG
“DEEPWATER HORIZON?” in €
GULF OF MEXICO, on
APRIL 20, 2010

THIS DOCUMENT RELATES TO:
1. Bill’s Oyster House v BP et al (C.A. 10-
2. Howard Buras v BP et al (C.A.10-2994)

MDL NO. 2179
he: SECTION: J
JUDGE BARBIER

MAG. JUDGE SHUSHAN
1308)

3. Armand's Bistro v BP et al (C.A. 10-4489)

4, Faye Loupe et al. v BP et al (C.A. 10-27

64)

5. Laura Gautreaux v BP et al (C.A. 18-1539)
6. Brent Rodrigue, Sr. et al. v BP et al (C.A. 10-1325)

NOTICE OF MANUAL ATTACHMENT AND FILING OF EXHIBIT “A” TO

MOTION FOR

SUMMARY JUDGMENT

Undersigned counsel hereby notices that he is manually filing the Exhibit “A” to the

Motion For Summary Judgment because its size exceeds the capabilities for electronic filing.

Respectfully submitted,

/s/ Daniel E. Becnel, Jr.
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Attorneys for Plaintiffs in:
1. Bill's Oyster House v BP et al (C.A. 10-1308)
2, Howard Buras v BP et al (C.A.10-2994)
3, Armand’s Bistro v BP et al (C_A, 10-4489)
4, Faye Loupe et al. v BP et al (C.A, 10-2764)
5, Laura Gautreaux v BP et al (C.A. 10-1539)

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6. Brent Rodrigue, Sr. et al. v BP et al (C.A, 10-1325)

CERTIFICATE OF SERVICE

WE HEREBY CERTIFY that the above and foregoing Memorandum has been served on
all counsel by electronically uploading the same to Lexis Nexis File & Serve in accordance with
Pretrial Order No. 12, and that the foregoing was electronically filed with the Clerk of Court of
the United States District Court for the Eastern District of Louisiana by using the CM/ ECF
System, which will send a notice of electronic filing in accordance with the procedures
established in MDL 2179, on this _12th day of April, 2011.

/s/f Daniel E. Beenel, Jr.

